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                 EXHIBIT 52
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                                                           CONFIDENTIAL




Expert Analysis: Lacey R. Keller




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        B. Qualifications
    1. I am the Managing Director for Data Mining & Analytics with Gryphon Strategies, Inc. I was hired
       to create and direct their data mining and analytics division. In my current role, I advise financial
       and law firms on leveraging data for investments and investigations.

    2. Prior to founding Gryphon Strategies’ Data Mining & Analytics division, I founded and directed the
       Research and Analytics Department for the New York State Office of the Attorney General (NYAG)
       from 2013 to 2017. As a result of my leadership, the NYAG became the first state attorney
       general’s office to hire a data scientist. I grew my staff from one research assistant to seven full-
       time staff.

    3. I have also worked in various research and analytical positions, including the research department
       of the Service Employees International Union (SEIU) 32BJ, the largest property services union in
       the country. I was also a researcher for the Global Clearinghouse and a Teaching Assistant at the
       New School for Social Research. As a consultant, I have been hired by and have provided pro-
       bono assistance to many state and federal agencies as well as nonprofits on the use of data
       mining and analytics in investigations.

    4. The work I have done throughout my career relates directly to analysis undertaken in this report.
       For over six years, I have employed a data-driven approach to identifying suspicious, sometimes
       illegal, conduct. I have developed a specialty in compiling and analyzing disorganized and
       disparate data. Since 2014, I have been immersed in issues and investigations related to the
       opioid crisis. This analysis drew upon my unique and specialized skillset that has been developed
       over a decade of research and analytical experience.

    5. I was often tasked with identifying instances of wrongdoing by companies. For example, while at
       SEIU 32BJ, I reviewed public records for data to identify wrongdoing by cleaning companies and
       cleaning contractors around the country. For example, through thorough research and
       documentation, I was able to identify a cleaning company that was creating shell companies to
       keep a small business cleaning contract at the Walter Reed Medical Center. SEIU 32BJ submitted
       this information to the General Services Administration. To the best of my knowledge, that
       company or its subsidiaries/affiliates lost the contract for that site.

    6. My primary directive when the NYAG’s office hired me was to help the office identify areas for
       investigation using data. Frequently, I was given a subject area to investigate without having any
       prior expertise in the area. I would then educate myself through research and talking with subject
       matter experts to allow me to help them identify new areas of investigation. I often would use
       public data to assist with these investigations. For instance, I combined publicly available tax
       assessor, mortgage records, and real estate listings to identify hundreds of land owners
       potentially out of compliance with the city’s 421-a tax benefit program that the NYAG
       investigated with various settlements with landlords.




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    7. My work over the past decade has required me to extract, process, clean, merge, and analyze
       both public and confidential data, which often comes poorly formatted and from disparate
       locations. From these convoluted datasets, I have identified trends and outliers that have
       furthered investigations or prosecution.

    8. For over four years, I have worked extensively on issues relevant to opioids. While at the NYAG, I
       developed and managed the Community Overdose Prevention (COP) Program to use data
       analytics to determine how best to deploy life-saving naloxone across law enforcement officers
       statewide. Under that program, I oversaw the collection of information related to naloxone
       disbursements, which jumpstarted tracking opioid overdoses more efficiently throughout the
       state. I used the data I collected, as well as external datasets, to deepen understanding of opioid
       usage in New York State. Chief among the datasets I used was the Drug Enforcement
       Administration (DEA) Automation of Reports and Consolidated Orders System (ARCOS) data. I
       continue to work with ARCOS data and have now utilized both the publicly available and
       confidential shipment-level ARCOS data to provide attorneys with granular analysis and support
       the initiatives and litigation pursued by policymakers and law enforcement.

    9. I have written or co-authored numerous reports using my data analysis to advance a variety of
       investigations into illegal activity, many of which have been covered by national media outlets.
       For instance, my analysis published in a report issued by the NYAG helped reveal Airbnb’s illegal
       activity in New York City. In addition, while at SEIU 32BJ, I authored two papers about the physical
       building conditions of New York City public school facilities, the second of which was widely
       covered by local news and prompted a city council oversight hearing to address the issues raised.

    10. In my work, I have frequently received produced data in a format not initially conducive to
      analysis, such as productions containing PDF versions of spreadsheets or thousands of files of
      various formats not described in a volume of bates. In a case that settled for hundreds of millions
      of dollars, I supervised the team that identified and extracted information about shipments from
      the labeler defendant’s production. Because of this analysis, my team and I were able to detect
      millions of improper shipments made in New York State that were then used by NYAG attorneys
      in court and ultimately led to the judge ordering the labeler defendant to pay almost $250 million
      in damages.

    11. My experience also includes processing very disorganized data produced by labeler defendants
      in various cases for investigations and prosecution. For a wage theft case brought by the NYAG, I
      was asked to identify instances of an employer “stealing time” from employees. To complete this
      analysis, I had to extract information from thousands of PDF employee time cards to extrapolate
      and identify instances of missing time. Based on my analysis, I determined that over $500,000 in
      owed money to employees.

    12. In my work, I supervise complicated data management and analysis. For an NYAG investigation
      into posting fake trades in emerging market foreign exchange currency options, I used scripts to
      extract relevant trade information from two years of instant message, email, and voice
      communications between brokers. Working with my team, I then compared that relevant


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      information from postings to the trade confirmations of actual completed trades brokered to
      determine which trades were real and which were fabricated. This analysis was relied upon to
      generate a criminal complaint filed by the NYAG. The firms ultimately pled guilty to one count of
      securities fraud.

    13. I am also experienced in working with vast amounts of sensitive information. In developing the
      interactive dashboard on illegal gun trafficking in New York, the Attorney General’s Office
      obtained the anonymized and the highly confidential firearms tracing data from the Bureau of
      Alcohol, Tobacco, Firearms and Explosives. My team and I were granted authorization from
      dozens of police departments to access their firearms trace data on their behalf. I transformed
      that data into an interactive tool used by New York State law enforcement agencies to identify
      potential firearms trafficking, based on analytics relevant to firearms trafficking. This data
      required considerable cleaning and analysis, including geocoding and entity resolution to identify
      the same firearm purchaser that relied on different aliases, addresses, and other biographical
      information to avoid detection.

    14. I frequently am called upon to analyze very large data. While working on investigations of
      broadband internet investigations at the NYAG, I collected public speed test data and submissions
      to office made by the general public about the download speed. This preliminary analysis was the
      basis for opening an investigation into the practices of the largest broadband providers regarding
      the internet speeds of its customers. As part of this investigation, I drafted the data request to
      broadband providers for account and other relevant information that would impact a customer’s
      internet speed. I connected several datasets totaling hundreds of millions of records, including
      the customer account data (what internet tier they were provisioned), the internet speed test
      results, as well as information about the modem/router configuration. The results of my analysis
      and the analysis that I supervised were used in the complaint the Attorney General filed against
      Time Warner Cable. The case ultimately settled for $174.2 million.

    15. I received the NYAG’s Innovation in Law Enforcement Award for my work on gun trafficking and
      twice received the NYAG’s Superior Service Award.

    16. I was a member of the 28th Class of Coro’s Leadership New York and was part of City and State’s
      40 Under 40 Rising Stars in 2016. I serve on the Standards Review Council for the Multifamily
      Operating Standards Assessment & Improvement Council (MOSAIC) – a New York Benefit
      Corporation designed to establish fair and independent operating standards for quality of living
      within the multifamily housing market.

    17. I hold a Master of Economics from the New School and a Bachelor of Business Administration
      from Washburn University.

    18. I have not testified or been deposed in the last four years.

    19. I was an invited speaker at the following conferences:



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            a. Association of Certified Fraud Examiners (ACFE) Global Fraud Conference (forthcoming:
               2019)
            b. NASAA Investment Adviser Training (2017, 2019)
            c. Association of Certified Fraud Examiners (ACFE) Law Enforcement and Government Anti-
               Fraud Summit (2018)
            d. PLI Hedge Fund and Private Equity Enforcement & Regulatory Developments 2018
               (2018)

    20. My CV is attached as Exhibit 1.

        C. Remuneration
    21. Gryphon is being compensated for its time and expenses. My hourly rate is $475 per hour. Other
      Gryphon personnel working on this matter have billing rates of $275 to $375 per hour.

        D. Scope of Report
    22. This report focuses specifically and exclusively on manufacturers’ anti-diversion and suspicious
      order monitoring programs. Throughout the report, I will refer to labelers and manufacturers
      interchangeably as the entities that create the drugs analyzed.

    23. I have been asked to report the results of applying certain compliance metrics applicable to
      manufacturers to prescribers.

    24. I have been asked to report the results of applying certain compliance metrics applicable to a
      manufacturer to pharmacies and physicians.

    25. I have been asked to trace the orders made by distributors that were deemed peculiar by a
      manufacturer to the end pharmacy buyer through that manufacturer’s chargeback data.

    26. I have been asked to report the impact on opioid prescribing in Summit and Cuyahoga County if
      a small labeler had reported the activity of suspicious prescribers.

        E. Summary of Opinions
    27. My findings demonstrate that there were millions of prescriptions and purchases of billions of
      dosage units and MMEs in Cuyahoga and Summit counties that defendant manufacturers of
      opioids (called labelers) could have identified as being of unusual size or frequency and deviating
      from the normal pattern yet were unreported. I found that defendant labelers purchased external
      data sources (IQVIA) and maintained internal data sources (chargebacks, 867 data, sales data)
      that provided them with granular information regarding the entity distributing, prescribing, and
      purchasing their opioid products. All defendant labelers purchased IQVIA Xponent data. All of this
      information was sufficient to support a Suspicious Order Monitoring (SOM) program identifying
      problematic distributors, prescribers and pharmacies. In particular, it was and is possible using

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         standard data-analytic tools to determine from the data that the defendant labelers had in their
         possession suspicious prescribing and purchasing patterns, and to identify particular physicians
         and particular pharmacies with problematic prescribing patterns.

       28. I found that defendant labelers purchased robust external data sources and maintained internal
         data sources that provided them with granular information regarding the entity distributing,
         prescribing, and purchasing their opioid products. This information was sufficient to support a
         Suspicious Order Monitoring (SOM) program identifying problematic prescribers and pharmacies.
         Nonetheless, defendant labelers did not implement robust monitoring programs and therefore
         failed to capture a substantial volume of potentially suspicious transactions.

       29. Although all defendant labelers purchased IQVIA Xponent® data, each used it to monitor
         potential inappropriate prescribing in different ways to differing degrees. Teva and Mallinckrodt,
         for example, committed to regularly monitor IQVIA Xponent as agreed to with the FDA in their
         Risk Monitoring Plans (RMP), also known as Risk Minimization Action Plans (RiskMAP).1 However,
         the details of how that data analysis would take place and what actions it would lead to was
         unspecified. To my knowledge only one defendant, Purdue Pharma, used IQVIA in a programmatic
         or algorithmic way2. Implementing Purdue’s calculations, however, requires additional data that
         has not been made available to me.

       30. Furthermore, instead of using this data to develop monitoring programs, defendants used it to
         inform their targeted marketing efforts to prescribers and evaluate drug performance. Similarly,
         despite the scope and detail of the chargeback data they maintained, defendant labelers did not
         use that data programmatically or effectively to capture suspicious activity among end buyers.

       31. To quantify the prescriptions or transactions that labelers could have readily detected were of
         unusual size or frequency, I applied a series of compliance metrics to each dataset. Defendant
         labelers and distributors originally developed all but one of these compliance metrics. Among
         these metrics were whether the volume prescribed or ordered was over a certain static threshold;
         whether a buyer significantly increased prescriptions or purchases relevant to their own histories;
         or how prescriptions or purchases compared to national averages for the same labeler opioid
         product. I then applied these compliance metrics to physicians and pharmacies to determine what
         suspicious activity could be detected by labelers. The last metric was derived from labeler
         defendants’ due diligence Standard Operating Procedures documents in which companies
         expressed concern that pharmacies may be purchasing large quantities of controlled substances
         from more than one distributor as a means of staying below distributor thresholds.
         Manufacturers were uniquely positioned to identify end-customers’ purchasing patterns and,
         thus, which customers were using multiple distributors.

       32. In Part One of this report, I analyzed the prescribing history of physicians from a labeler’s
         perspective. As previously noted, this analysis relied on IQVIA Xponent® data, which was often
         purchased by defendant labelers for marketing purposes. In fact, this dataset was produced

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        through discovery to plaintiffs by one of the defendant labelers.3 By using these compliance
        metrics, I demonstrated that defendant labelers did not detect millions of prescriptions that could
        have signaled irregular prescribing patterns. In some cases, labelers even targeted these high-
        volume prescribers for prescriptions of their product instead of reporting their prescribing
        patterns as suspect.4 I found several examples of high opioid-prescribing physicians whose
        suspicious prescribing could have been evident but, to the best of my knowledge, were not
        reported by defendant labelers.

      33. Part Two of this report analyzed chargeback data. Chargebacks are requests submitted by
        distributors to labelers to protect distributors from profit loss when drugs are sold to a buyer at
        less than the distributor paid the labeler for them.5 Order information – including drug, dosage,
        package quantity – is contained in the request to demonstrate to the labeler that the opioid
        product was sold for a lesser value to an end buyer, such as a pharmacy. Because of this system,
        defendant labelers regularly received chargeback requests from distributors regarding purchases
        of specific national drug code (NDC) products. This gave the labelers access to information
        regarding the purchasing patterns of their downstream customers. With this data, I demonstrated
        that labelers had precise insight into pharmacies in Summit and Cuyahoga that were ordering
        excessive amounts of their opioid products. Using chargeback data alone, labelers could have
        detected the suspicious activity of pharmacies, and had they reported them, they would have
        stopped hundreds of millions of dosage units from being dispensed in Summit and Cuyahoga
        counties.

      34. I was asked by plaintiffs’ counsel to include additional analysis that examined what would have
        happened if a labeler with a comparatively small market share had reported and stopped supplies
        to suspicious prescribers. I demonstrated that if Janssen – the defendant labeler with the second
        smallest market share in Summit and Cuyahoga counties – had reported suspicious activity,
        prescriptions for millions of dosage units could have been stopped in Summit and Cuyahoga
        counties.

      35. The results of my analysis are stark: had the defendant labelers applied similar analytic
        techniques using their own compliance metrics, that analysis would have identified suspicious
        orders in Cuyahoga and Summit counties responsible for millions of opioid prescriptions and
        billions of MMEs, as shown below in Tables 8 through 11. In the aggregate, suspicious orders that
        defendant labelers could have identified, but apparently did not, were responsible for more than
        half of all opioid prescriptions filled in Summit and Cuyahoga Counties in the periods 1997-2006
        and 2008-2017, and for nearly half the MMEs dispensed there in that same period. My analysis
        also shows that closer analysis of the flagged prescriptions would have confirmed that multiple,
        identified doctors in Summit and Cuyahoga counties, not limited to those profiled in this report,
        were engaged in highly suspicious and likely improper prescribing. Similar, closer analysis of
        flagged pharmacies would have identified specific, identified highly problematic pharmacies. This
        analysis shows that it is and was possible to identify by name the problematic doctors and


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